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        EXHIBIT C
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                                                                                                                                           HMC733LC4B
                                                                            v04.0514

                                                                                                             WIDEBAND MMIC VCO w/ BUFFER
                                                                                                                     AMPLIFIER, 10 - 20 GHz


                      Typical Applications                                                                       Features
                      Low Noise wideband MMIC VCO is ideal for:                                                  Wide Tuning Bandwidth
WIDEBAND VCOS - SMT




                      • Industrial/Medical Equipment                                                             Pout: +3 dBm
                      • Test & Measurement Equipment                                                             Low SSB Phase Noise: -90 dBc/Hz @100 kHz
                      • Military Radar, EW & ECM                                                                 No External Resonator Needed
                                                                                                                 Single Positive Supply: +5V @ 70 mA
                                                                                                                 RoHS Compliant 4 x 4 mm SMT Package


                      Functional Diagram                                                                         General Description
                                                                                                                 The HMC733LC4B is a wideband MMIC Voltage
                                                                                                                 Controlled Oscillator which incorporates the reson-
                                                                                                                 ator, negative resistance device, and varactor diode.
                                                                                                                 Output power and phase noise performance are
                                                                                                                 excellent over temperature due to the oscillator’s
                                                                                                                 monolithic construction. The Vtune port accepts
                                                                                                                 an analog tuning voltage from 0 to +22V. The
                                                                                                                 HMC733LC4B VCO operates from a single +5V supply,
                                                                                                                 consumes only 70 mA of current, and is housed in a
                                                                                                                 RoHS compliant SMT package. This wideband VCO
                                                                                                                 uniquely combines the attributes of ultra small size,
                                                                                                                 low phase noise, low power consumption, and wide
                                                                                                                 tuning range.




                      Electrical Specifications, TA = +25° C, Vcc = +5V
                                                            Parameter                                                  Min.                Typ.                Max.                Units
                       Frequency Range                                                                                                    10 - 20                                  GHz
                       Power Output                                                                                                          3                                     dBm
                       SSB Phase Noise @ 10 kHz Offset                                                                                      -60                                  dBc/Hz

                       SSB Phase Noise @ 100 kHz Offset                                                                                     -90                                  dBc/Hz

                       Tune Voltage (Vtune)                                                                            -0.25                                    23                   V
                       Supply Current (Icc) (Vcc = +5V)                                                                                     70                                      mA
                       Tune Port Leakage Current (Vtune = +23V)                                                                             25                                      µA
                       Output Return Loss                                                                                                   10                                      dB
                       2nd Harmonic                                                                                                         -20                                    dBc
                       Pulling (into a 2.0:1 VSWR)                                                                                          15                                   MHz pp
                       Vcc Pushing, Vtune = +20V, F = 20 GHz                                                                                -90                                   MHz/V
                       Frequency Drift Rate @ 10 GHz                                                                                       -0.25                                 MHz/°C
                       Frequency Drift Rate @ 20 GHz                                                                                       -0.80                                 MHz/°C



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                                                                                                             WIDEBAND MMIC VCO w/ BUFFER
                                                                                                                     AMPLIFIER, 10 - 20 GHz


Frequency vs. Tuning Voltage, Vcc = +5V                                                                       Frequency vs. Tuning Voltage, T = +25 °C
                                 22                                                                                                      22
                                 21                                                                                                      21




                                                                                                                                                                                                                              WIDEBAND VCOS - SMT
                                 20                                                                                                      20
OUTPUT FREQUENCY (GHz)




                                                                                                              OUTPUT FREQUENCY (GHz)
                                 19                                                                                                      19
                                 18                                                                                                      18
                                 17                                                                                                      17
                                 16                                                                                                      16
                                 15                                                                                                      15
                                 14                                                                                                      14
                                 13                                                                                                      13
                                                                                            +25C                                                                                                          4.75V
                                 12                                                         +85C                                         12                                                               5.00V
                                 11                                                         -40C                                                                                                          5.25V
                                                                                                                                         11
                                 10                                                                                                      10
                                  9                                                                                                       9
                                      -1    1   3   5   7     9    11   13   15   17   19    21    23   25                                     -1   1   3   5      7     9   11   13    15    17     19    21     23   25
                                                            TUNING VOLTAGE (V)                                                                                         TUNING VOLTAGE (V)




Sensitivity vs. Tuning Voltage,                                                                               Output Power vs.
Vcc= +5V, T = +25 °C                                                                                          Tuning Voltage, Vcc= +5V
                                800                                                                                                       8

                                                                                                                                          7                                            +25C
                                700
TUNING SENSITIVITY (MHz/VOLT)




                                                                                                                                                                                       +85C
                                                                                                                                          6                                            -40C
                                600
                                                                                                              OUTPUT POWER (dBm)




                                                                                                                                          5

                                                                                                                                          4
                                500
                                                                                                                                          3
                                400
                                                                                                                                          2
                                                                   +25C                                                                   1
                                300                                +85C
                                                                   -40C                                                                   0
                                200
                                                                                                                                          -1

                                100                                                                                                       -2
                                       -1   1   3   5   7     9    11   13   15   17   19     21   23   25                                     -1   1   3   5      7     9   11   13    15    17     19    21     23    25
                                                                                                                                                                       TUNING VOLTAGE (V)
                                                             TUNING VOLTAGE (V)




SSB Phase Noise vs. Tuning Voltage,                                                                           Typical SSB Phase Noise vs. Temperature
T = +25 °C                                                                                                    Vtune = +10V
                                 -20                                                                                                     -10
                                 -30                                         10 kHz
                                                                             100 kHz                                                     -30
                                                                                                              SSB PHASE NOISE (dBc/Hz)




                                 -40                                                                                                                                                                      + 25C
SSB PHASE NOISE (dBc/Hz)




                                                                             1 MHz
                                                                                                                                                                                                          + 85C
                                 -50                                                                                                     -50                                                              - 40C
                                 -60
                                 -70                                                                                                     -70

                                 -80
                                                                                                                                         -90
                                 -90
                                -100                                                                                             -110

                                -110
                                                                                                                                 -130
                                -120
                                -130                                                                                             -150
                                       -1   1   3   5   7      9   11   13   15   17   19     21   23   25                          1e+3                    1e+4              1e+5                 1e+6                1e+7
                                                            TUNING VOLTAGE (V)                                                                                  OFFSET FREQUENCY (Hz)




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                                                                                                                WIDEBAND MMIC VCO w/ BUFFER
                                                                                                                        AMPLIFIER, 10 - 20 GHz

                      Supply Current vs. Vcc, T = +25 °C                                                            Absolute Maximum Ratings
                                 80
                                                                                                                     Vcc                                         +5.5 Vdc
                                                                                                                     Vtune                                       -1.0 to +25V
WIDEBAND VCOS - SMT




                                 75
                                                                                                                     Storage Temperature                         -65 to +150 °C
                                 70
                                                                                                                     ESD Sensitivity (HBM)                       Class 1A
                      Icc (mA)




                                 65


                                 60
                                                                                                                    Reliability Information
                                                                            4.75V                                    Junction Temperature To Maintain
                                 55                                         5.00V
                                                                                                                                                                     135 °C
                                                                                                                     1 Million Hour MTTF
                                                                            5.25V
                                                                                                                     Nominal Junction Temperature
                                 50                                                                                                                                  119 °C
                                      -1   1    3   5   7     9   11   13     15    17   19   21   23   25           (T = 85 °C)
                                                            TUNING VOLTAGE (V)
                                                                                                                     Thermal Resistance
                                                                                                                                                                     97 °C/W
                                                                                                                     (Junction to GND paddle, 5V supply)
                                                                                                                     Operating Temperature                           -40 °C to +85 °C
                                               ELECTROSTATIC SENSITIVE DEVICE
                                               OBSERVE HANDLING PRECAUTIONS


                      Outline Drawing




                                                                                                                         NOTES:
                                                                                                                         1. PACKAGE BODY MATERIAL: ALUMINA
                                                                                                                         2. LEAD AND GROUND PADDLE PLATING: GOLD FLASH OVER Ni.
                                                                                                                         3. DIMENSIONS ARE IN INCHES [MILLIMETERS].
                                                                                                                         4. LEAD SPACING TOLERANCE IS NON-CUMULATIVE.
                                                                                                                         5. PACKAGE WARP SHALL NOT EXCEED 0.05mm DATUM -C-
                                                                                                                         6. ALL GROUND LEADS AND GROUND PADDLE MUST BE SOLDERED
                                                                                                                         	 TO PCB RF GROUND.

                      Package Information

                                  Part Number                                Package Body Material                      Lead Finish              MSL Rating             Package Marking [2]
                                                                                                                                                          [1]                   H733
                                 HMC733LC4B                                         Alumina, White                   Gold over Nickel              MSL3
                                                                                                                                                                                XXXX
                         [1] Max peak reflow temperature of 260 °C
                         [2] 4-Digit lot number XXXX

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                                                                                       WIDEBAND MMIC VCO w/ BUFFER
                                                                                               AMPLIFIER, 10 - 20 GHz


Pin Descriptions
 Pin Number            Function                                    Description                                                 Interface Schematic
 1 - 3, 5 - 11,                          No Connection. These pins may be connected to RF/DC




                                                                                                                                                                               WIDEBAND VCOS - SMT
                          N/C
  13, 17 - 24                                  ground. Performance will not be affected.



                                             Control Voltage and Modulation Input. Modulation
       4                 Vtune
                                             bandwidth dependent on drive source impedance.




      12                  Vcc                              Supply Voltage Vcc= +5V




                                            Package bottom has an exposed metal paddle that
    14, 16                GND
                                                   must also be RF & DC grounded.




      15                RFOUT                               RF output (AC coupled)




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                                                                                                             WIDEBAND MMIC VCO w/ BUFFER
                                                                                                                     AMPLIFIER, 10 - 20 GHz


                      Evaluation PCB
WIDEBAND VCOS - SMT




                      List of Materials for Evaluation PCB 108648 [1]
                      Item                      Description                                                      The circuit board used in the application should
                      J1                        PCB Mount SMA RF Connector, Johnson                              use RF circuit design techniques. Signal lines
                      J2                        PCB Mount SMA Connector, SRI                                     should have 50 Ohm impedance while the package
                      J3                        DC Header                                                        ground leads and exposed ground paddle should
                      C1                        1000 pF Capacitor, 0402 Pkg.                                     be connected directly to the ground plane similar
                      C2                        4.7 µF Capacitor, Tantalum
                                                                                                                 to that shown. A sufficient number of via holes
                      U1                        HMC733LC4B VCO
                                                                                                                 should be used to connect the top and bottom
                      PCB [2]                   108646 Eval Board
                                                                                                                 ground planes. The evaluation circuit board shown
                      [1] Reference this number when ordering complete evaluation PCB
                                                                                                                 is available from Hittite upon request.
                      [2] Circuit Board Material: Rogers 4350




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